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                                          IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   UNITED STATES OF AMERICA                                   :   Date Notice Mailed: 10/19/2021
        v.                                                    :
                                                              :
    Michael “Ozzie” Myers                                 :             CRIMINAL NO. 2020-210
    2746 S. Hutchinson Street
    Philadelphia, PA 19148

                                  NOTICE OF ARRAIGNMENT/INITIAL APPEARANCE

1. TAKE NOTICE that you have been indicted by the Grand Jury. A copy of the Superseding Indictment is enclosed. A
warrant for your arrest has been issued and is in the possession of the United States Marshal.

2. You are notified to appear before Magistrate Judge David R. Strawbridge for:


        ARRAIGNMENT on the Superseding Indictment at 12:00 p.m. on October 26, 2021 VIA
VIDEOCONFERENCE.

             INITIAL APPEARANCE before Magistrate Judge               , on       , 20      , at
      .m. in Courtroom No.         ,       Floor, U.S. Courthouse, 601 Market Street, Philadelphia, Pennsylvania.

3. In order for the court to be provided with verified information regarding community and family ties in connection with the bail
determination process, it is important that you contact the Pretrial Services Agency at 267-299-4400 immediately. You will not
be questioned concerning the offense for which you are charged and the information that you provide will be used for bail
purposes only.


4. If you fail to appear at the    ARRAIGNMENT            INITIAL APPEARANCE pursuant to this notice, you will be subject to
arrest by the United States Marshal.


5. Please consult with your attorney before the date fixed for arraignment.


NOTE: If you do not have an attorney and cannot afford to hire one, an attorney will be appointed for you by the Court. If you
want an attorney to be appointed for you, take these papers immediately to the office of the Defender Association, Suite
540 West, 601 Walnut Street, Philadelphia, Pennsylvania, 19106, 215-928-1100. If you qualify for an appointment of
counsel, the Court will appoint either the Defender Association or a member of the Federal Defense Panel.


    INTERPRETER REQUIRED
                                                    This case has been assigned to: Judge Paul S. Diamond
                                                    For information communicate with Courtroom Deputy:
                                                    Lenora Kashner Wittje
                                                    Telephone No. 267-299-7739
                                                    NOTICE TO: Magistrate Judge David R. Strawbridge
                                                    Defendant
                                                    Eric Gibson, AUSA
                                                    Richard Barrett, AUSA
                                                    Arnold Silverman, Defense
                                                    Noah Gorson, Defense Attorney
                                                    United States Marshal
                                                    Pretrial Services
                                                    Interpreter Coordinator
